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 4

 5   Attorney for Defendant
     RAJU TOOR
 6

 7                       IN THE UNITED STATES DISTRICT COURT FOR THE
                                EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,                         )
                Plaintiff,                             )   CASE NO. 1:14-CR-00163-DAD-
10                                                     )   BAM_________
            vs.                                        )
11                                                     )   STIPULATION AND ORDER RE:
                                                       )   CONDITIONS OF RELEASE AND
12                                                     )   ORDER PERMITTING TRAVEL
     RAJU TOOR,
                     Defendant.                        )
13                                                     )
                                                       )
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                     The parties to this stipulation are Grant Rabenn, Assistant U.S. Attorney, for the
16   United States, Ryan Roth, counsel for defendant Raju Toor, and the defendant’s pre-trial services
17   officer, Elizabeth Gutierrez.
18           It is hereby agreed and stipulated by the parties hereto that defendant Raju Toor shall be
19   permitted to travel to New York City, New York for holiday related travel with his wife. Mr.

20   Toor has secured a reservation for this stay and will be traveling from December 9, 2016 to
     December 12, 2016. It is understood that this travel is outside the Eastern District of California.
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     A copy of the travel itinerary has been provided to pre-trial services.
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             All other conditions shall remain in full force and effect. Defendant shall report to pre-
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     trial services upon arrival to his destination.
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          Case 1:14-cr-00163-DAD-BAM Document 61 Filed 11/21/16 Page 2 of 2


 1   IT IS SO STIPLUATED.
 2

 3   DATED: November 19, 2014.               /s/ Grant Rabenn
 4                                           GRANT RABENN
                                             Assistant U.S. Attorney
 5
     IT IS SO STIPLUATED.
 6

 7
     DATED: November 19, 2014.               /s/ Ryan A. Roth
 8
                                             RYAN A. ROTH
 9                                           Attorney for Defendant
                                             Raju Toor
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11
                                       ORDER
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     IT IS SO ORDERED.
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14      Dated:   November 21, 2016              /s/ Barbara A. McAuliffe      _
15                                         UNITED STATES MAGISTRATE JUDGE

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